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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :
                                            :
                                            :
              V.                            :        CRIMINAL NUMBER 10-379-1
                                            :
                                            :
BRANDON BUNSON                              :

             MOTION TO CORRECT SENTENCE UNDER 28 U.S.C. § 2255

       Movant, Brandon Bunson, through undersigned counsel, respectfully moves this Court to

set aside the judgment in this case and correct his sentence pursuant to 28 U.S.C. § 2255.

Movant was convicted and sentenced under 18 U.S.C. § 924(c) for using or carrying a firearm in

furtherance a crime of violence. After the Supreme Court’s decision in Johnson v. United States,

135 S. Ct. 2552 (2015), Movant’s predicate crime does not qualify as a crime of violence under §

924(c); the resulting conviction and sentence violate due process of law. Movant respectfully

requests that this Court grant this motion, vacate his § 924(c) conviction and sentence, and re-

sentence him without § 924(c)’s mandatory minimum and any related sentencing enhancements.

I.     Procedural History.

       On April 1, 2015, this Court entered a judgment convicting Movant of four counts of

Hobbs Act robbery and one count of brandishing a firearm in the commission thereof, in

violation of 18 U.S.C. § 924(c)(1)(A)(ii).         The Court sentenced Movant to 84 months’

imprisonment pursuant to § 924(c)’s mandatory minimum, to run consecutively to 156 months’

imprisonment for the other counts of conviction.

II.    Grounds for Relief.

           a. The Johnson Decision.




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       In light of Johnson v. United States, 135 S. Ct. 2551 (2015), Movant’s conviction and

sentence under § 924(c) violate due process of law. In Johnson, the Supreme Court invalidated

the residual clause of the Armed Career Criminal Act (“ACCA”) as unconstitutionally vague.

Before Johnson, the ACCA defined a violent felony as follows:

               (B) the term “violent felony” means any crime punishable by
               imprisonment for a term exceeding one year, or any act of juvenile
               delinquency involving the use or carrying of a firearm, knife, or
               destructive device that would be punishable by imprisonment for
               such term if committed by an adult, that—

                       i) has as an element the use, attempted use, or threatened
                       use of physical force against the person of another; or

                       ii) is burglary, arson, or extortion, involves use of
                       explosives, or otherwise involves conduct that presents a
                       serious potential risk of physical injury to another.

18 U.S.C. § 924(e)(2)(B). The ACCA’s definition of violent felony is divided into three distinct

clauses. An offense that “has as an element the use, attempted use, or threatened use of physical

force against the person of another” falls under the “force clause.” Burglary, arson, extortion,

and offenses involving the use of explosives fall under the “enumerated offense clause.” An

offense that “otherwise involves conduct that presents a serious potential risk of physical injury

to another” falls under the “residual clause.”

       In Johnson, the Supreme Court held that the language of ACCA’s residual clause was so

vague as to deny fair notice of what conduct is prohibited and invite arbitrary enforcement in

violation of due process. Johnson, 135 S. Ct. at 2557-59. Section 924(c) includes a materially

identical (though not identically worded) residual clause in its definition of “crime of violence”:

               (3) For purposes of this subsection the term “crime of violence”
               means an offense that is a felony and—

                       (A) has as an element the use, attempted use, or threatened
                           use of physical force against the person or property of
                           another, or

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                        (B) that by its nature, involves a substantial risk that
                            physical force against the person or property of
                            another may be used in the course of committing the
                            offense.

18 U.S.C. § 924(c)(3) (emphasis added).1 Cases interpreting the residual clauses of § 924(c)(3)

and 18 U.S.C. § 16(b)—a provision identical to § 924(c)(3)(B)—regularly rely on ACCA cases,

and vice-versa. The two features that rendered ACCA’s residual clause unconstitutional are

equally present in § 924(c)’s residual clause. See Johnson, 135 S. Ct. at 2557-58 (“Two features

of the residual clause conspire to make it unconstitutionally vague. In the first place, the residual

clause leaves grave uncertainty about how to estimate the risk posed by a crime. It ties the

judicial assessment of risk to a judicially imagined “ordinary case” of a crime, not to real-world

facts or statutory elements. . . . At the same time, the residual clause leaves uncertainty about

how much risk it takes for a crime to qualify as a violent felony.”). Accordingly, Johnson

invalidates the residual clause § 924(c)(3).

        In evaluating whether an offense is a “violent felony” under the ACCA or a “crime of

violence” under § 924(c), courts apply a “categorical approach,” meaning they “look only to the

statutory definitions—i.e., the elements—of a defendant’s prior offenses, and not to the

particular facts underlying those convictions.” Descamps v. United States, 133 S. Ct. 2276, 2283

(2013) (ACCA) (internal quotation marks omitted); United States v. Brown, 765 F.3d 185, 189 &

n.2 (3d Cir. 2014) (career offender guideline). An offense is a “categorical” match only if all of




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  The definition of “crime of violence” in § 924(c)(3) is divided into an “element-of-force clause” and a
“residual clause.”




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the conduct covered by the statutory definition, “including the most innocent conduct,” matches

or is narrower than the definition of a “crime of violence” supplied by § 924(c). United States v.

Shell, 789 F.3d 335, 339 (4th Cir. 2015) (discussing the career offender guideline); see also

Brown, 765 F.3d at 189.

       Notably, the Solicitor General’s brief to the Supreme Court in Johnson expressly

acknowledged that § 16(b) “is equally susceptible to petitioner’s central objection to the residual

clause,” that it is unconstitutionally vague, because, “[l]ike the ACCA, Section 16 requires a

court to identify the ordinary case of the commission of the offense . . . .” Supplemental Brief of

United States, Johnson v. United States, 2015 WL 1284964, at *22-23 (Mar. 20, 2015). Since

Johnson, several courts of appeals and district courts have found the residual clauses of §§

924(c)(3)(B) and 16(b) are unconstitutional. See United States v. Gonzalez-Longoria, 813 F.3d

225 (5th Cir. 2016) (holding § 16(b)’s definition of “crime of violence” unconstitutionally vague

under Johnson), reh’g en banc granted (Feb. 26, 2016); Dimaya v. Lynch, 803 F.3d 1110, 1111

(9th Cir. 2015) (§ 16(b)’s identical residual clause is void for vagueness); United States v.

Edmundson, —F. Supp. 3d—, 2015 WL 9582736 (D. Md. Dec. 30, 2015) (holding §

924(c)(3)(B) void for vagueness); United States v. Bell, No. 15-cr-258, 2016 WL 344749, at *12-

*13 (N.D. Cal. Jan. 28, 2016) (same); United States v. Lattanaphom, No. 99-cr-433, 2016 WL

393545, at *6 (E.D. Cal. Feb. 2, 2016) (same); see also Ruiz v. United States, No. 16-1193 (7th

Cir. Feb. 19, 2016) (authorizing a successive § 2255 motion where petitioner made prima facie

showing that his convictions were based on § 924(c)(3)’s residual clause, which is identical to

the clause in § 16(b) already held unconstitutionally vague under Johnson in United States v.

Vivas-Ceja, 808 F.3d 719 (7th Cir. 2015)).




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           b. The predicate crime for Movant’s § 924(c) conviction does not qualify as a
              “crime of violence”; Movant’s conviction and sentence violate due process of
              law.

       After Johnson, Movant’s conviction and sentence under § 924(c) must be vacated

because he does not have a predicate crime of violence. Hobbs Act robbery does not have “as an

element the use, attempted use, or threatened use of physical force against the person or property

of another,” as required by the element-of-force clause at § 924(c)(3)(A). In this context,

“physical force means violent force.” Johnson v. United States, 559 U.S. 133, 140 (2010)

(emphasis in original) (internal citations omitted). The offense defined by 18 U.S.C. § 1951(a)

does not categorically require the use of violent force. A person may commit Hobbs Act robbery

by such non-forcible means as placing a person in fear of future injury (say, by threatening to

stealthily cause harm ‘just when you least expect it’), or even by threatening to cause the

devaluation of an investment (say, by tearing up a promissory note). See, e.g., United States v.

Teamsters Local 560, 780 F.2d 267, 281 (3d Cir. 1986); see also Chrzanoski v. Ashcroft, 327

F.3d 188, 195 (2d Cir. 2003) (explaining that physical harm can be caused by “guile [or]

deception” rather than force).

       Instead, Movant’s predicate Hobbs Act robbery fell under § 924(c)(3)’s residual clause,

which is now void for vagueness. Thus, Movant’s § 924(c) conviction and sentence violate due

process of law.

       Movant was convicted and sentenced under § 924(c)(1)(A)(ii) because of a finding that

the firearm was brandished, which resulted in a mandatory minimum sentence of 7 years'

imprisonment.     Under § 924(c)(1)(D)(ii), this mandatory minimum sentence cannot “run

concurrently with any other term of imprisonment imposed on the person, including any term of




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imprisonment imposed for the crime of violence or drug trafficking crime during which the

firearm was used, carried, or possessed.”

       At the original sentencing, Movant’s guideline range without the § 924(c) conviction was

70 to 87 months, based on a total offense level of 27 and a criminal history category of I. Thus,

Movant’s current 240-month sentence is nearly three times greater than the actual guideline

maximum.

           c. This motion is timely.

       This motion is timely pursuant to 28 U.S.C. § 2255(f)(3), which provides for a one-year

limitations period to run from “the date on which the right asserted was initially recognized by

the Supreme Court, if that right has been newly recognized by the Supreme Court and made

retroactively applicable to cases on collateral review.” The Supreme Court decided Johnson on

June 26, 2015, and this motion is filed within a year of that date.

           d. The rule announced in Johnson is retroactive to cases on collateral review.

       On April 18, 2016, the Supreme Court held that Johnson is retroactive to cases on

collateral review. Welch v. United States, No. 15-6418, — S. Ct. — (April 18, 2016). Because

Johnson is retroactive for ACCA purposes, it is also retroactive for purposes of § 924(c).2

Johnson applies retroactively to this case.




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  This Court can make the decision about Johnson’s retroactivity to guidelines cases in a first motion
brought under 28 U.S.C. § 2255—it does not have to wait for the Supreme Court or the Courts of Appeals
to do so first. See United States v. Swinton, 333 F.3d 481, 486 (3d Cir. 2003) (“[C]ourts of appeals and
district courts may determine whether a novel decision of the Supreme Court applies retroactively, and
thus whether a collateral attack is timely under § 2255.”).



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        WHEREFORE, for all of the reasons stated, Movant respectfully asks this Court to

grant his § 2255 motion and list this matter for a new sentencing hearing. If the Government

opposes this motion, Movant respectfully requests an opportunity to file a memorandum of law

in support of his claim for relief.

                                      Respectfully submitted,


                                      /s/ Nina C. Spizer
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                                 CERTIFICATE OF SERVICE


       I hereby certify that the foregoing was served upon Thomas M. Zaleski, Assistant United

States Attorney, via this Court’s electronic case filing system.



                                              /s/ Nina C. Spizer
                                              NINA C. SPIZER
                                              Chief, Trial Unit


DATE: May 20, 2016
